                                         Case 3:15-cv-02281-WHA Document 151 Filed 05/04/16 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        TOTAL RECALL TECHNOLOGIES,
                                   7                                                         Case No. 15-cv-02281-WHA (SK)
                                                        Plaintiff,
                                   8
                                                  v.                                         ORDER DIRECTING PLAINTIFF TO
                                   9                                                         ANSWER QUESTIONS
                                        PALMER LUCKEY, et al.,
                                  10
                                                        Defendants.
                                  11

                                  12          In order to fully address the pending discovery dispute, the Court HEREBY ORDERS
Northern District of California
 United States District Court




                                  13   Plaintiff to answer the following questions:

                                  14          (1) What, if any, documents has Ron Igra or Thomas Seidl produced in the pending

                                  15                Hawaii Action?

                                  16          (2) If documents have been produced, what, if any, documents were designated as

                                  17                confidential under the protective order in that action?

                                  18          Plaintiff shall provide answers to these questions in writing by no later than noon on May

                                  19   9, 2016.

                                  20          IT IS SO ORDERED.

                                  21   Dated: May 4, 2016

                                  22

                                  23                                                     ______________________________________
                                                                                         SALLIE KIM
                                  24                                                     United States Magistrate Judge
                                  25

                                  26
                                  27

                                  28
